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 5
   Attorneys for Defendant
 6 RUGS.COM, LLC
 7
 8
 9                    IN THE UNITED STATES DISTRICT COURT
10              FOR THE CENTRAL DISTRICT OF CALIFORNIA
11 LUIS LICEA, an individual,                Case No. 2:21-cv-05308-AB-GJS
12           Plaintiff,                      Assigned to: Hon. Andre Birotte Jr.
13              vs.
                                             DEFENDANT RUGS.COM LLC’S
14 RUGS.COM, LLC, a South Carolina           ANSWER TO COMPLAINT AND
   limited liability company; and DOES 1-    AFFIRMATIVE DEFENSES
15 10, inclusive
16              Defendants.
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                                             Complaint filed: May 25, 2021
21                                           Complaint served: June 3, 2021
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                 DEFENDANT RUGS.COM LLC’S ANSWER TO COMPLAINT
                           AND AFFIRMATIVE DEFENSES
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 1        Comes now, Defendant Rugs.com LLC (“Defendant”) by and through
 2 undersigned counsel, hereby file this Answer and Affirmative Defenses to Plaintiff
 3 Luis Licea (“Plaintiff”) and state:
 4        Defendant answer the First Amended Complaint in correspondingly numbered
 5 paragraphs as set forth below. For convenience, Defendant use the same headings,
 6 designations, and paragraph numbers as Plaintiff, without admitting the substance of
 7 any such heading or designation. All allegations not expressly admitted below are
 8 hereby denied.
 9                                   INTRODUCTION
10        1.     The allegations in Paragraph 1 constitute legal conclusions for which no
11 response is required. To the extent a response is deemed necessary, Defendant does
12 not have sufficient information to admit or deny and therefore denies the allegations
13 of Paragraph 1.
14        2.     The allegations in Paragraph 2 constitute legal conclusions for which no
15 response is required. To the extent a response is deemed necessary, Defendant does
16 not have sufficient information to admit or deny and therefore denies the allegations
17 of Paragraph 2.
18        3.     The allegations in Paragraph 3 constitute legal conclusions for which no
19 response is required. To the extent a response is deemed necessary, Defendant does
20 not have sufficient information to admit or deny and therefore denies the allegations
21 of Paragraph 3.
22        4.     The allegations in Paragraph 4 constitute legal conclusions for which no
23 response is required. To the extent a response is deemed necessary, Defendant denies
24 the allegations of Paragraph 4.
25                            JURISDICTION AND VENUE
26        5.     The allegations in Paragraph 5 constitute legal conclusions for which no
27 response is required. To the extent a response is deemed necessary, Defendant admits
28 that this Court has subject matter jurisdiction over this dispute. Unless expressly
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                  DEFENDANT RUGS.COM LLC’S ANSWER TO COMPLAINT
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 1 admitted, Defendant denies the allegations of Paragraph 5.
 2        6.     Defendant denies the allegations of Paragraph 6.
 3                                       PARTIES
 4        7.     Defendant does not have sufficient information to admit or deny the
 5 allegations of Paragraph 7 and thus, on that basis deny them.
 6        8.     Defendants do not have sufficient information to admit or deny the
 7 allegations of Paragraph 8 and thus, on that basis deny them.
 8        9.     The allegations in Paragraph 9 constitute legal conclusions for which no
 9 response is required. To the extent a response is deemed necessary, Defendant admits
10 that it is a South Carolina corporation with its principal place of business in South
11 Carolina. Defendant further admits that it operates a website. Except as expressly
12 admitted, Defendant denies the allegations of Paragraph 9.
13        10.    The allegations in Paragraph 10 constitute legal conclusions for which
14 no response is required. To the extent a response is deemed necessary, Defendant
15 denies the allegations of Paragraph 10.
16        11.    The allegations in Paragraph 11 constitute legal conclusions for which
17 no response is required. To the extent a response is deemed necessary, Defendant
18 denies the allegations of Paragraph 11.
19                                        FACTS
20        12.    The allegations in Paragraph 12 constitute legal conclusions for which
21 no response is required. To the extent a response is deemed necessary, Defendant
22 does not have sufficient information to admit or deny the allegations of Paragraph 12
23 and thus, on that basis deny them.
24        13.    The allegations in Paragraph 13 constitute legal conclusions for which
25 no response is required. To the extent a response is deemed necessary, Defendant
26 does not have sufficient information to admit or deny the allegations of Paragraph 13
27 and thus, on that basis deny them.
28        14.    The allegations in Paragraph 14 constitute legal conclusions for which
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                  DEFENDANT RUGS.COM LLC’S ANSWER TO COMPLAINT
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 1 no response is required. To the extent a response is deemed necessary, Defendant
 2 does denies the allegations of Paragraph 14.
 3         15.   The allegations in Paragraph 15 constitute legal conclusions for which
 4 no response is required. To the extent a response is deemed necessary, Defendant
 5 admits that it operates a website. Except as expressly admitted, Defendant denies the
 6 allegations of Paragraph 15.
 7         16.   The allegations in Paragraph 16 constitute legal conclusions for which
 8 no response is required. To the extent a response is deemed necessary, Defendant
 9 denies the allegations of Paragraph 16.
10         17.   The allegations in Paragraph 17 constitute legal conclusions for which
11 no response is required. To the extent a response is deemed necessary, Defendant
12 denies the allegations of Paragraph 17.
13         18.   The allegations in Paragraph 18 constitute legal conclusions for which
14 no response is required. To the extent a response is deemed necessary, Defendant
15 denies the allegations of Paragraph 18.
16         19.   The allegations in Paragraph 19 constitute legal conclusions for which
17 no response is required. To the extent a response is deemed necessary, Defendant
18 denies the allegations of Paragraph 19.
19         20.   The allegations in Paragraph 20 constitute legal conclusions for which
20 no response is required. To the extent a response is deemed necessary, Defendant
21 denies the allegations of Paragraph 20.
22                                  CAUSE OF ACTION
23     Violations of the Unruh Civil Rights Act, California Civil Code § 51 et seq.
24                           (By Plaintiff Against All Defendants)
25         21.   Defendant reasserts the responses in paragraphs 1 through 20 as though
26 fully set forth herein.
27         22.   The allegations in Paragraph 22 constitute legal conclusions for which
28 no response is required. To the extent a response is deemed necessary, Defendant
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 1 denies the allegations of Paragraph 22.
 2         23.   The allegations in Paragraph 23 constitute legal conclusions for which
 3 no response is required. To the extent a response is deemed necessary, Defendant
 4 denies the allegations of Paragraph 23.
 5         24.   The allegations in Paragraph 24 constitute legal conclusions for which
 6 no response is required. To the extent a response is deemed necessary, Defendant
 7 denies the allegations of Paragraph 24.
 8         25.   The allegations in Paragraph 25 constitute legal conclusions for which
 9 no response is required. To the extent a response is deemed necessary, Defendant
10 denies the allegations of Paragraph 25.
11         26.   The allegations in Paragraph 26 constitute legal conclusions for which
12 no response is required. To the extent a response is deemed necessary, Defendant
13 denies the allegations of Paragraph 26.
14         27.   The allegations in Paragraph 27 constitute legal conclusions for which
15 no response is required. To the extent a response is deemed necessary, Defendant
16 denies the allegations of Paragraph 27.
17         28.   The allegations in Paragraph 28 constitute legal conclusions for which
18 no response is required. To the extent a response is deemed necessary, Defendant
19 denies the allegations of Paragraph 28.
20 AFFIRMATIVE DEFENSES
21         Without admitting any of the allegations in the Complaint, Defendants assert
22 the following affirmative defenses:
23                           FIRST AFFIRMATIVE DEFENSE
24         Plaintiff lacks standing to challenge any alleged barriers as Plaintiff did not
25 visit Defendant’s website prior to the filing of the initial complaint.
26                          SECOND AFFIRMATIVE DEFENSE
27         Plaintiff’s claims are moot.
28                           THIRD AFFIRMATIVE DEFENSE
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 1         Plaintiff’s claims are barred because, with respect to any particular technical
 2 element that departs from any applicable accessibility guidelines, if any, Defendant
 3 has provided “equivalent facilitation” in the form of alternative designs and
 4 technologies that provide substantially equivalent or greater access to and usability of
 5 the website.
 6                           FOURTH AFFIRMATIVE DEFENSE
 7 Plaintiff’s claims are barred because the claimed violations are “de minimis,” and
 8 nonactionable because they do not materially impair Plaintiff’s use of Defendant’s
 9 website or any portion thereof.
10                             FIFTH AFFIRMATIVE DEFENSE
11         Plaintiff’s claims are barred because the modifications Plaintiff seeks are not
12 “alterations” within the meaning of the ADA or Title 24 and/or they do not trigger an
13 “alteration” legal standard, including because the modifications sought will be
14 disproportionate in cost or cost in excess of 20% of the entire “alteration.”
15                            SIXTH AFFIRMATIVE DEFENSE
16         Plaintiff’s claims are barred because the alterations made by Defendant to its
17 website are sufficient in that they satisfy the “to the maximum extent feasible”
18 standard. 28 C.F.R. § 36.402(a)(1); 42 U.S.C §12183(a)(2).
19                          SEVENTH AFFIRMATIVE DEFENSE
20         Defendant has made good faith efforts to comply with the ADA and the Unruh Act
21 including providing appropriate alternative access.
22                           EIGHTH AFFIRMATIVE DEFENSE
23         Plaintiffs’ claims under the Unruh Act are barred to the extent that they interfere with
24 Defendant’s compliance with laws and regulations that are equally applicable to all persons.
25                            NINTH AFFIRMATIVE DEFENSE
26         The imposition of statutory minimum damages in this matter would violate
27 Defendant’s Eighth Amendment protection against excessive fines in violation of the
28 California Constitution and the United States Constitution.
                                               5
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 1                         SEVENTH AFFIRMATIVE DEFENSE
 2         Defendant expressly and specifically reserves the right to amend this Answer
 3 to add, delete, and/or modify affirmative defenses based upon legal theories, facts
 4 and/or circumstances which may or will be developed through discovery and/or
 5 through further legal analysis of its position in this action.
 6         WHEREFORE, Defendant prays as follows:
 7         1.    That Plaintiff takes nothing by his Complaint;
 8         2.    That the Complaint be dismissed with prejudice as to Defendant and that
 9               judgment be entered in favor of Defendant;
10         3.    That Defendant be awarded their costs; and
11         4.    For such other and further relief as the Court may deem just and proper.
12
13 Dated: August 3, 2021                     McKOWN BAILEY
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15
16                                           By:
17                                                 Aaron M. McKown
                                                   Attorneys for Defendant
18                                                 RUGS.COM, LLC
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